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                                                                               10-03-2018
                                                                               Walworth County
                                                               WALWORTH C6MVprcuit Court
STATE OF WISCONSIN :               CIRCUIT COURT :
                                                                               2018CV000615
                                                                               ' '___..py'e Baniel S.
                                                                               Johnson
CHRISTINE PETERSEN                                                             Branch 2
W3267 Poplar
Lake Geneva, WI 53147,

              Plaintiff,
                                                        SUMMONS
ALEX M. AZAR II,                                        Case Number:
SECRETARY OF THE DEPARTMENT OF HEALTH                   Case Code: 30107
AND HUMAN SERVICES                                      Amount Claimed is Greater than
517 E. Wisconsin Ave.                                    $5,000.00
Milwaukee, WI 53202,

UNITED HEALTHCARE,
Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717
              Subrogated Plaintiff,

V.


 IVERSEY, INC.
Registered Agent: Corporation Service Company         DANE COlu"  N T Y LEGAL N0TICE
8040 Excelsior Drive                                  .~ E
                                                      ,~ RV %D B Y: _
Suite 400                                                     l~ l/ _l r\T a.' ~     M
                                                      ®iJ
Madison, WI 53717,

CINTAS CORPORATION N0.2
Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717,

SEALED AIR CORPORATION,
Re>?istered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717,

LIBERTY MUTUAL INSURANCE COMPANY,
Registered Agent: Corporation Service Company



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8040 Excelsior Drive
Suite 400
Madison, WI 53717,

ABC Corporation, a foreign or domestic corporation or entity, exact name
and address unknown,

XYZ Insurance Company, a foreign or domestic corporation or
Entity, exact name and present address unknown,
               Defendants.



THE STATE OF WISCONSIN

TO EACH PERSON ANMED ABOVE AS A DEFENDANT

       YOU ARE HEREBY NOTIFIED that the Plaintiff named above has filed a lawsuit or

other legal action against you. The complaint which is attached states the nature and basis of the

legal action.

        Within forty-five (45) days after receiving this summons, you must respond with a written

answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the complaint.

The Court may reject or disregard an answer that does not follow the requirements of the statutes.

The answer must be sent or delivered to the Circuit Court for Walworth County whose address in

1800 County Road NN, Elkhorn, Wisconsin, 53121, and to the Plaintiff's attorney Kathryn P.

Heyer, whose address is 100 East Wisconsin Avenue, Suite 1020, Milwaukee, Wisconsin, 53202.

You may have an attorney help or represent you.

        If you do not provide a proper answer within forty-five (45) days, the Court may grant

judgment against you for the award or money or other legal action requested in the complaint,

and you may lose your right to object to anything that is or may be incorrect in the complaint. A

judgment may be enforced as provided by law. A judgment awarding money may become a lien



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against any real estate you own now or in the future, and may also be enforced by garnishment or

seizure of property.



                                      Dated this 3rd day of October, 2018.

                                                   SPERLING LAW OFFICES LLC
                                                   Attorneys for Plaintiff

                                                   Electronically signed by Kathryn P. Heyer
                                                   Kathryn P. Heyer
                                                   State Bar ID #1030903
                                                   KheyerAMilwaukeeLawFirm. com
P.O. Address:

100 E. Wisconsin Avenue
Suite 1020
Milwaukee, WI 53202
Tel: (414) 273-7100
Fax: (414) 276-9022




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                                                                              Walworth County
                                                                              Clerk of Circuit Court
                                                                                         0615
STATE OF WISCONSIN :               CIRCUIT COURT :            WALWORTH C~UN  1~
                                                                         onora le Daniel S.
                                                                              Johnson
                                                                              Branch 2
CHRISTINE PETERSEN
W3267 Poplar
Lake Geneva, WI 53147,

              Plaintiff,
                                                       COMPLAINT
ALEX M. AZAR II,                                       Case Number:
SECRETARY OF THE DEPARTMENT OF HEALTH                  Case Code: 30107
AND HUMAN SERVICES                                     Amount Claimed is Greater than
517 E. Wisconsin Ave.                                   $5,000.00
Milwaukee, WI 53202,

UNITED HEALTHCARE,
Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717
              Subrogated Plaintiff,

V.


DIVERSEY, INC.
Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717,

CINTAS CORPORATION N0.2
Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717,

SEALED AIR CORPORATION,
Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717,

LIBERTY MUTUAL INSURANCE COMPANY,
                                            4



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Registered Agent: Corporation Service Company
8040 Excelsior Drive
Suite 400
Madison, WI 53717,

ABC Corporation, a foreign or domestic corporation or entity, exact name
and address unknown,

XYZ Insurance Company, a foreign or domestic corporation or
Entity, exact name and present address unknown,
               Defendants.



       NOW COMES the plaintiff, Christine Petersen, by her attorneys, Sperling Law Offices

LLC, by Kathryn P. Heyer, and as and for a complaint against the above named defendants, hereby

alleges and shows to the Court as follows:

       1.      That the plaintiff, Christine Petersen, is an adult individual residing at W3267

Poplar, Lake Geneva, Wisconsin.


       2.      That upon information and belief, the subrogated plaintiff United HealthCare is a

domestic corporation with principal offices located at 10701 Research Drive, Milwaukee,

Wisconsin, with a registered agent for service of process being Corporation Service Company,

8040 Excelsior Drive, Suite 400, Madison, WI 53717, and may have made certain payments on

behalf of the plaintiff, Christine Petersen, with regard to medical expenses incurred by the plaintiff

as a result of injuries sustained in the hereina$er described accident; said plaintiff alleges doubt as

to whether or not said subrogated plaintiff is truly subrogated or interested in this action, but that

said subrogated plaintiff is joined as a party subrogated plaintiff for the purpose of complying with

the provisions of Wisconsin Statutes 803.03.

       3.      That Alex M. Azar, II, Secretary of the United States Department of Health and

Human Services, has oversight responsibilities for the Health Care Financing Administration, the

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agency responsible for administering the federal Medicare Program. The Medicare program may

have paid health claims on behalf of the plaintiff Christine Petersen for medical care and services

rendered as a result of the incident which is the subject of this case. Pursuant to 42 U.S.C. Sec.

1395y(b)(2), Medicare may be entitled to be reimbursed for related paid claims if plaintiff

Christine Petersen recovers through settlement or judgment. The Plaintiff alleges doubt as to

whether this Involuntary Plaintiff, is truly subrogated or interested in this action, but that said

Involuntary Plaintiff is joined as a party for the purpose of complying with the provisions of §

803.03, Wis. Stats.

       4.      That upon information and belief the Defendant Diversey, Inc. is a foreign

corporation with its principal offices located at 2415 Cascade Pointe Boulevard, Charlotte, North

Carolina, and a registered agent for service of process, Corporation Service Company, 8040

Excelsior Drive, Madison, Wisconsin and is and was at all times material one of the businesses

that provided cleaning products to Geneva Java at issue in this case.

       5.      That upon information and belief the Defendant Cintas Corporation No. 2 is a

foreign corporation with its principal offices located at 6800 Cintas Blvd, Cincinnati, Ohio, and

with a registered agent for service of process, Corporation Service Company, 8040 Excelsior

Drive, Madison, Wisconsin and is and was at all times material one of the businesses that provided

cleaning products to Geneva Java at issue in this case.

       6.      That upon information and belief the Defendant Sealed Air Corporation, is a foreign

corporation with its principal offices located at 2415 Cascade Pointe Boulevard, Charlotte, North

Carolina, and a registered agent for service of process, Corporation Service Company, 8040

Excelsior Drive, Madison, Wisconsin and is and was at all times material one of the businesses

that provided cleaning products to Geneva Java at issue in this case.

       7.      That the Defendant, Liberty Mutual Insurance Company, is a foreign

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insurance corporation with its principal place of business located at 175 Berkeley Street, Boston,

Massachusetts, and a registered agent for service of process, Corporation Service Company, 8040

Excelsior Drive, Madison, Wisconsin. That upon information and belief, Liberty Mutual Insurance

Company, provided liability insurance to the Defendants, Diversey, Inc., Cintas Corporation No.

2., and/or Sealed Air Corporation.

       8.      That the Defendant, ABC Corporation, is an individual or a foreign or domestic

corporation; the name, address, registered agent, registered offices and state of incorporation are

presently unknown to the Plaintiff and that in place of the actual name of the Defendant individual

or corporation, a fictitious name, ABC Corporation, is being used for the Defendant pursuant to

Wis. Stats. 807.12. ABC Corporation may have negligently provided the cleaning products to

Geneva Java that caused injury to the plaintiff, and by reason of said alleged negligence, the

Defendant, ABC Corporation, and/or its agents and/or employees, ABC Corporation is a proper

party Defendant herein.

       9.      That the Defendant, XYZ Insurance Company, is a foreign or domestic insurance

corporation; the name, address, registered agent, registered offices and state of incorporation of

which are presently unknown to the Plaintiff and that in place of the actual name of the

Defendant insurance company, a fictitious name is being used for the Defendant pursuant to

Wis. Stats. 807.12. That upon information and belief, the Defendant, XYZ INSURANCE

COMPANY, provided liability insurance to the Defendants, and also provided liability insurance

insuring for any potential negligence of their respective agents, servants and/or employees, and

that by reason of said insurance policy and the alleged negligence of the Defendants, and/or their

respective agents/employees and the provisions of Wis. Stats. 803.04(2), the Defendant, XYZ

INSURANCE COMPANY, is a proper party Defendant herein.



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       10.       Beginning on or about November and December, 2015 plaintiff noticed unusual

injuries to her feet. Consisting of, but not limited to, dry and cracking skin that would not heal,

and eventually led to the development of cellulitis. Plaintiff was not able to determine the cause of

her foot problems.

       11.       At all relevant times, plaintiff would rinse out and occasionally soak her shoes in a

mixture of water and what she believed was pot and pan detergent from the Signet dispenser, after

work at Geneva Joe.

       12.       On or about January 21, 2016 plaintiff discovered that the solution she had been

using to wash her work shoes after a shift at Geneva Java was not pot and pan detergent but was

floor cleaner.

       13.       At all relevant times, the delivery, maintenance and installation of the cleaning

products used in the Signet dispenser at Geneva Joe was performed by employees/agents of

Defendants Diversey, Inc., Cintas Corporation No. 2., Sealed Air Corporation, and/or ABC

Corporation.

       14.       That the Defendants Diversey, Inc., Cintas Corporation No. 2., Sealed Air

Corporation, and/or ABC Corporation and/or their respective agents/employees were careless and

negligent in the delivery, maintenance and installation of the cleaning products used in the Signet

dispenser at Geneva Joe.

       15.       That as a result or substantial factor of such negligence, Plaintiff Christine Petersen

sustained multiple injuries, suffered great pain of body and mind, incurred medical and hospital

expenses; that the Plaintiff's injuries may be permanent in nature, thereby causing the plaintiff to

suffer pain and disability in the future, incur medical and hospital expenses in the future, sustain

loss of earning capacity, all to her damage in an undisclosed amount pursuant to Wisconsin

Statutes.

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       WHEREFORE, the plaintiff demands compensatory damages against the Defendants and

for such other relief this Court deems just and proper.



                PLAINTIFF DEMANDS TRIAL BY A JURY OF 12 PERSONS


                                                      SPERLING LAW OFFICES LLC
                                                      Attorneys for Plaintiff

                                                      Electronically signed bv Kathryn P. Heyer
                                                     Kathryn P. Heyer
                                                     State Bar ID #1030903
                                                      Kheyer(&MilwaukeeLawFirm. com
P.O. Address:

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Suite 1020
Milwaukee, WI 53202
Tel: (414) 273-7100
Fax: (414) 276-9022




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STATE OF WISCONSIN                               CIRCUIT COURT                     WALWORTH COUNTY                    10-03-2018
                                                                                                                      walworth County
Christine Petersen vs. Diversey, Inc. et al                                     Electronic Filing
                                                                                                                      Clerk of Circuit Court
                                                                                     Notice
                                                                                                                      2018CV000615
                                                 Case No. 2018CV000615                                                Honorable Daniel S.
                                                 Class Code: Other-Personal Injury                                    Johnson
                                                                                                                      Branch 2


                           DIVERSEY, INC.
                           8040 EXCELSIOR DR., SUITE 400
                           REGISTERED AGENT: CORPORATION SERVICE COMPANY
                           MADISON WI 53717


_               Case number 2018CV000615 was electronically filed with/converted by the Walworth ,:
                County Clerk of Circuit Court office. The electronic filing system is designed, to` allow fot~
                fast, reliable exchange of documents in court cases.
                Parties who register as electronic parties can file, receive and view documeiits oriline-`
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                legal effect as a document filed by traditional means. Electronic parties are.responsible
                for serving non-electronic parties by traditional means:. `
                You may also register as an electronic party byfollowirig the instructions found at
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                party, you will need to entertfie following code on the eFiling website while opting in as
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                Pro Se opt-in code: 19d4ddll11;_
                Unless you,.register as an electronic party, you will be served with traditional paper
                documents by.:otlier parties and by the court. You must file and serve traditional paper
                documents.:;       A:
                fRegistration`is available to attorneys, self-represented individuals, and filing agents who
                are.authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as
                a law=firm, agency, corporation, or other group. Non-attorney individuals representing
                the interests of a business, such as garnishees, must file by traditional means or
                through an attorney or filing agent. More information about who may participate in
                electronic filing is found on the court website.
                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-741-7012.



                                                                                            Walworth County Circuit Court
                                                                                            Date: October 5, 2018.




GF-180(CCAP), 06/2017 Electronic Fiiing Notice                                                                         §801.18(5)(d), Wisconsin Statutes
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                                     This fortn shall not be modi8ed.  11/08/18        Page
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